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                        UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA


UNITED STATES OF AMERICA                         CRIMINAL ACTION
VERSUS                                           NO. 08-140

BETTY JEFFERSON                                  SECTION "B” (1)
ANGELA COLEMAN
MOSE JEFFERSON
RENEE GILL PRATT

                                ORDER AND REASONS

      On July 21, 2009, the Court heard oral argument on Defendant

Mose Jefferson’s Motion to Dismiss, Strike, and Sever (Rec. Doc.

119),1 to which Defendant Renee Gill Pratt previously filed a

Memorandum    in   Support      (Rec.   Doc.   155)2   and   Defendants     Betty

Jefferson and Angela Coleman moved to adopt in court.              After review

of the pleadings, applicable law, and oral argument of the parties,

and for oral reasons given and for the reasons that follow, the

Court DENIES Mose Jefferson’s Motion to Dismiss, Strike, and Sever

(Rec. Doc. 119) without prejudice to reconsider at a future date.


      1
        The Court notes that following denial of his Motion to Withdraw,
attorney Arthur Lemann, III declined to offer oral argument. Michael Fawer,
counsel for Renee Gill Pratt, deferred to Arthur Lemann, III’s decision
regarding oral argument but did present a statement to the Court indicating
his intent to file motions, including possibly a motion to dismiss and/or
sever, prior to Ms. Gill Pratt’s September 30, 2009 deadline for filing pre-
trial motions. (See Rec. Doc. 171). The Court found that Defendant’s written
materials on substantive motions here sufficiently addressed all issues that
were of interest to the Court. (See Rec. Doc. 187).
      2
       Gill Pratt’s Memorandum in Support also requested severance for
Defendant Renee Gill Pratt, which was discussed during oral argument on Mose
Jefferson’s Motion to Dismiss, Strike, and Sever. Without prejudice, Pratt’s
motion is summarily denied, reserving reconsideration if she timely moved for
same within set deadline.

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(Rec. Doc. 187).     With assistance from all counsel of record, the

Court will continue to monitor whether further evaluation is needed

on the issues of severance and prejudicial impact, including the

admission of 404(b) and other evidence, along with double jeopardy

claims that might arise since the trial of U.S. v. Mose Jefferson

criminal docket number 2:08-cr-00085.

                                 BACKGROUND

     Defendants Betty Jefferson, Angela Coleman, and Mose Jefferson

operated   various   non-profit     and     for-profit     organizations       that

received   grant   monies    from   the   State     of   Louisiana,     the    U.S.

Department of Education (“DOE”), and the U.S. Department of Housing

and Urban Development (“HUD”).       Both the State of Louisiana and DOE

grants were offered to non-profits for charitable and education

purposes, while HUD provided housing assistance and federal grants

to non-profits for improvements of multi-family dwellings for the

elderly. Defendant Betty Jefferson was the president of the board

of directors of Greater St. Stephen Manor, Inc. (“Greater St.

Stephen”),   a   Louisiana     non-profit    corporation      which    owned      and

operated a forty-one unit elderly apartment complex located in New

Orleans and operating under § 202.          Betty Jefferson also controlled

non-profits Care Unlimited, Inc. (“CU”) and Central City Adult

Education Agency, Inc. (“Central City”) and controlled and operated

various for-profit La. companies that the Government alleges were

used by Defendant Betty Jefferson to transfer money from the non-

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profits to Defendants and others.            Betty Jefferson was also the Tax

Assessor for the 4th Municipal District, Orleans Parish since May

1998.

        Betty’s daughter, Defendant Angela Coleman, was the president

of the board of CU and also owned and operated La. for-profit

companies.      Mose Jefferson was chairman of the board of the non-

profit Orleans Metropolitan Housing & Community Development, Inc.

(“Orleans Metro”) and, in that capacity, caused grant applications

to    be   submitted    and   agreements     to   be   signed   with   the   state.

Defendant     Mose     Jefferson    controlled     the    following    for-profit

Louisiana companies that the Government alleges received money and

benefits from the Defendants’ controlled non-profits: Southwind

Consultants Inc., and Southwind Consultants, LLC (collectively

“Southwind”),        Enterprise      Consultants,        Inc.   and    Enterprise

Consultants, LLC (collectively “Enterprise”), and B.E.P. Consulting

Services, LLC (“B.E.P.”).          Southwind purchased a building complex

at 3313 S. Saratoga St., New Orleans from Orleans Metro in June 2002

and used the property to receive rental payments from several non-

profits.     Mose Jefferson and his for-profit companies also operated

and received rental payments from an apartment complex located at

2712-2716 Loyola Ave., New Orleans, also known as “Mose Manor.”

Enterprise and B.E.P. operated out of both 3313 S. Saratoga and Mose

Manor.

        On June 4, 2008, the grand jury returned an indictment against

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Defendants Betty Jefferson, Angela Coleman, and Mose Jefferson,

alleging that Defendants conspired to defraud the DOE, HUD, and the

State of Louisiana out of funds that the state and federal agencies

provided to the non-profits controlled by Defendants for charitable

and educational purposes, diverting some of the funds for their

personal   benefit.      The   indictment       also      included         charges   of

conspiracy to commit mail fraud and program fraud, aggravated

identity theft, program fraud, mail fraud, false statements, tax

evasion, and conspiracy to commit money laundering. On May 22, 2009,

the grand jury returned the present thirty-four count superseding

indictment, which charges the three previous Defendants, Betty

Jefferson,   Mose   Jefferson,   and       Angela     Coleman,       and   additional

Defendant Renee Gill Pratt with conspiracy to violate the Racketeer

Influenced and Corrupt Organizations Act (“RICO”) in violation of

18 U.S.C. § 1962(d), specifically alleging that Defendants through

their various non-profit and for-profit entities and political

positions engaged in a pattern of racketeering activity for the

“primary purpose of exercising and preserving power over and within

the government of the State of Louisiana, the City of New Orleans,

Orleans Parish, and elsewhere, for the financial and political

benefits of defendants.”

     The Superseding Indictment charges Renee Gill Pratt with Count

One only, the RICO conspiracy in violation of 18 U.S.C. § 1962(d).

In addition to the Count 1 RICO conspiracy, Mose Jefferson, Betty

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Jefferson, and Angela Coleman are charged with mail fraud (18 U.S.C.

§ 1341, 1346) in Count 10.     Mose Jefferson is charged with a second

count of mail fraud in Count 11 and with false statements (18 U.S.C.

§ 1001) in Counts 28, 29.      The majority of the charges are against

Betty Jefferson and Angela Coleman.           In addition to the Count 1

conspiracy and Count 10 mail fraud, both Betty Jefferson and Angela

Coleman are also charged with mail fraud (18 U.S.C. § 1341, 1346 &

2) in Counts 2-9 and 11, aggravated identity theft (18 U.S.C. §

1028A) in Counts 15-24, money laundering and conspiracy to commit

money laundering (18 U.S.C. § 1956) in Count 27, and conspiracy to

defraud (18 U.S.C. § 371) in Count 34.         The Superseding Indictment

also charges Betty Jefferson with mail fraud/honest services mail

fraud in Counts 10-14, money laundering and conspiracy to commit

money laundering in Count 26, and income tax evasion (26 U.S.C. §

7201) and conspiracy to evade income tax in Counts 30-33.                Angela

Coleman is also charged with conspiracy to evade income tax.

     Defendant Mose Jefferson’s charges correspond to counts in the

Superseding Indictment as follows:

     18 U.S.C. § 1962(d)          RICO conspiracy           Count 1
     18 U.S.C. § 1341, 1346       mail fraud                Counts 10, 11
     18 U.S.C. § 1001             false statements          Counts 28, 29

     In his Motion to Dismiss, Strike, and Sever, Defendant Mose

Jefferson argues that the Count 1 conspiracy charge alleges multiple

conspiracies and should therefore be dismissed.          Specifically, Mose

Jefferson asserts that the Superseding Indictment alleges three

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conspiracies, a traditional RICO conspiracy, the “I Can Learn”

conspiracy, which Defendant asserts was also at issue in his case

before Judge Lemmon, and the state law conspiracy.              Alternatively,

Defendant argues that the alleged state law and “I Can Learn”

conspiracies be stricken.       Defendant asserts that the “I Can Learn”

conspiracy should be stricken on grounds of due process, double

jeopardy, speedy trial, and Sixth Amendment right to retained

counsel.3 Defendant argues that the “state law conspiracy” fails to

state a federal offense and urges the Court to allow the government

to offer this evidence only extraneously under Rule 404(b).

      Next Defendant argues that he is improperly joined in Counts

15-24, the aggravated identity theft charges, and Counts 30-34,

income tax evasion and conspiracy to evade income tax.               Basically

Defendant argues that because he is not charged in those counts,

there is no basis under Rule 8 to join him in those counts.

Alternatively, Defendant argues that these counts should be severed

as prejudicial under Rule 14.        However, Defendant provides neither

case law on prejudice nor any specific explanations as to how


      3
        Defendants’ speedy trial arguments were addressed when the Court
considered motions to continue trial and are accordingly moot in light of the
Court’s grant of a continuance. With respect to the Sixth Amendment right to
counsel, Mose Jefferson asserts that one of the reasons the Government added
the “I Can Learn” ‘conspiracy’ to the superseding indictment was to bring in
Stacy Simms as a witness in an effort to disqualify Mose Jefferson’s counsel,
Arthur Lemann. The right to counsel arguments are moot as the Court is taking
ample measures to ensure proper application, and to the extent necessary
reconciliation, of Defendants’ rights to counsel of their choice and conflict
free counsel.



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Defendant might be prejudiced by the joinder.

       Counts 28 and 29 charge Defendant with making false statements

in a matter within the jurisdiction of the Federal Bureau of

Investigation (“FBI”).        Defendant argues that the false statements

are not objects of the RICO conspiracy and should be severed under

Rule 14 and asserts that “they asperse his not guilty plea to the

remaining counts.”         (Rec. Doc. 119-2).

       Finally, Defendant argues that his trial and the trial of Renee

Gill Pratt should be severed from the trials of Betty Jefferson and

Angela Coleman.       Defendant cites preservation of his speedy trial

rights, alleged double jeopardy with respect to the “I Can Learn”

allegations and the trial before Judge Lemmon,4 and Mose Jefferson’s

Sixth Amendment right to counsel.

                                    DISCUSSION

I.    Multiple Conspiracies

       Defendant Mose Jefferson argues that the Count 1 conspiracy

charge     alleges    multiple    conspiracies       and     should     therefore       be

dismissed.      Specifically, Defendant asserts that the Superseding

Indictment      alleges     three    conspiracies,           a    traditional        RICO

conspiracy,     the   “I    Can   Learn”       conspiracy,       and   the   state     law

conspiracy.     Alternatively, Defendant argues that the alleged state

law and “I Can Learn” “conspiracies” be stricken. Defendant asserts



       4
        The trial before Judge Lemmon concluded in August.

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that the “I Can Learn” allegations should be stricken on grounds of

due process, double jeopardy, speedy trial, and Sixth Amendment

right to retained counsel.5 Defendant argues that the “state law

conspiracy” fails to state a federal offense and urges the Court to

allow the government to offer this evidence only extraneously under

Rule 404(b).

       The Government argues that Defendant misunderstands the breadth

of RICO and asserts that the key to the RICO conspiracy is “knowing

agreement.”     The Government further asserts that it is not required

to    charge   or   prove   the   commission     of   any   racketeering     acts,

predicate acts or overt acts to meet its burden as to Count 1.                    See

United States v. Salinas, 522 U.S. 52 (1997).               The Government also

argues that Count 1 alleges one conspiracy as it alleges the common

goal of personal financial and political enrichment through the

misuse of Defendants’ non-profits, that the nature of the scheme

suggests an interdependence of actions, and that each member is not

required to participate in every transaction, and that the evidence

suggests overlapping participants.               See United States v. Pena-

Rodriguez, 110 F.3d 1120, 1126 (5th Cir. 1997).                In addition, the

Government argues that Defendant’s motion is premature because the

question of multiple conspiracies versus a single conspiracy is a


       5
       Defendant asserts that one of the reasons the Government added the “I
Can Learn” ‘conspiracy’ to the superseding indictment was to bring in Stacy
Simms as a witness in an effort to disqualify Mose Jefferson’s counsel, Arthur
Lemann.

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fact question for the jury.         See United States v. Morgan, 117 F.3d

849, 858 (5th Cir. 1997).        The government also asserts that should

Defendant choose to pursue the multiple conspiracy theory as a

defense, he can request a multiple conspiracy instruction to the

jury such as the Fifth Circuit’s pattern “Pinkerton” instruction.6

See United States v. Stowell, 947 F.2d 1251, 1258 (5th Cir. 1991),

cert. denied, 112 S.Ct. 1269 (1992).

      A   conviction    based     upon       a   duplicitous     indictment     that

prejudices a defendant may be subject to reversal.                   United States

v. Sharpe, 193 F.3d 852, 870 (5th Cir. 1999).               An indictment may be

duplicitous if it joins in a single Count two or more distinct

offenses.    Id.    The government may include several acts within a

single Count where those actions represent a single, continuing

scheme    provided:    “the     indictment       (1)   notifies      the   defendant

adequately of the charges against him; (2) does not subject the

defendant to double jeopardy; (3) does not permit prejudicial


      6
       Fifth Circuit Pattern Jury Instruction 2.22 reads as follows:
                 CONSPIRATOR’S LIABILITY FOR SUBSTANTIVE COUNT

A conspirator is responsible for offenses committed by another [other]
conspirator[s] if the conspirator was a member of the conspiracy when the
offense was committed and if the offense was committed in furtherance of, or
as a foreseeable consequence of, the conspiracy.
•
Therefore, if you have first found the defendant guilty of the conspiracy
charged in Count ___ and if you find beyond a reasonable doubt that during the
time the defendant was a member of that conspiracy, another [other]
conspirator[s] committed the offense[s] in Count[s] ___ in furtherance of or
as a foreseeable consequence of that conspiracy, then you may find the
defendant guilty of Count[s] ___, even though the defendant may not have
participated in any of the acts which constitute the offense[s] described in
Count[s] ___.

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evidentiary rulings at trial; and (4)does not allow the defendants

to be convicted by a non-unanimous verdict.”              Id.

     To prove a conspiracy, the government must prove beyond a

reasonable doubt “that (1) a common agreement or conspiracy existed;

(2) the accused knew of the conspiracy; and (3) the accused, with

knowledge, voluntarily joined the conspiracy.” United States v.

Richerson, 833 F.2d 1147, 1152 (5th Cir. 1987).                       The principal

considerations in counting the number of conspiracies are (1) the

existence of a common goal, (2) the nature of the scheme, and (3)the

overlapping of participants in the various dealings.                  United States

v. Pena-Rodriguez, 110 F.3d 1120, 1126 (5th Cir. 1997).                           When

examining the number of conspiracies, the Fifth Circuit has also

reviewed the scope of the conspiracy, which is judged by the

following    five   factors:         (1)    time,   (2)    persons       acting     as

co-conspirators,     (3)   the     statutory    offenses        charged      in    the

indictments, (4) the overt acts charged by the government or any

other description of the offense charged which indicates the nature

and scope of the activity which the government sought to punish in

each case, and (5) places where the events alleged as part of the

conspiracy took place.     Id. at n.4; and United States v. Mitchell,

777 F.2d 248, 260 (5th Cir. 1986)(finding that the “similarity of

time, persons, offenses, places and overt acts among the shipments

[of narcotics]” pointed to a single RICO conspiracy).

     Where   the    evidence   demonstrates     that      all    of    the   alleged

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co-conspirators directed their efforts towards the accomplishment

of a single goal or common purpose, then a single conspiracy exists.

Richerson, 833 F.2d at 1153.                The common goal factor requires one

objective, or set of objectives, or an overall objective to be

achieved by multiple actions.               Id.     The Fifth Circuit in Richerson

listed a variety of “common purposes” that had been previously

identified       by   the    court     in    various      cases,     including       “mutual

enrichment” in a mail fraud conspiracy case.                     Id.       Similarly, after

recognizing the broadness of the common goal test,7 the Richerson

court held that it could not declare incorrect “the Government

statement . . . that the common goal driving all members of the

single conspiracy . . .            was their personal gain through the fraud”

of an oil drilling contractor.                 Id. (emphasis added)(finding that

the “overall plan was for all members to obtain some reward for

their participation in the conspiracy;” the contracting company’s

employees “realized personal gains by obtaining money and property

through kickbacks, and the vendors realized gains by locking in

millions of dollars of business through bribes”).


       7
       After presenting the laundry list of common goals, the Richerson court
observed, “Given these broad ‘common goals’ the common objective test may have
become a mere matter of semantics.” Richerson, 833 F.3d at 1153 (common goals
identified in previous cases include: (1) the passing of a large quantity of
counterfeit bills over a period of time; (2) a series of staged automobile
collisions involving a varying pattern of participants, in different
locations, over an extended time period; (3) a plan, over three years in
process, with varying participants, to buy cocaine; and (4) in a mail fraud
conspiracy case, “mutual enrichment” or the amassing of money by false
representations about the value of Llano ore and its commercial capabilities).
See also Pena-Rodriguez, 110 F.3d at 1127 n.6 (quoting Richerson supra).

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     Regarding nature of the scheme, where the activities of one

aspect of the scheme are necessary or advantageous to the success

of another aspect of the scheme or to the overall success of the

venture, where there are several parts inherent in a larger common

plan, the existence of a single conspiracy will be inferred.

Richerson, 833 F.2d at 1154. See also U.S. v. Wilson, 116 F.3d 1066,

1075-76 (5th Cir. 1997)(rev’d on other grounds in U.S. v. Brown, 161

F.3d 256 (5th Cir. 1998))(stating that Courts look at “the degree

of interdependence of the actions of members of the conspiracy-that

is, whether the activities of one aspect of the of the scheme are

necessary or advantageous to the success of another aspect of the

scheme”).

     The    final    conspiracy   factor    of    overlapping      participants

examines    “the    interrelationships     between     the   participants         and

various parts of the scheme.”       Richerson, 833 F.2d at 1154.            It is

not required that every member participate in every transaction to

find a single conspiracy, and “where the memberships of two criminal

endeavors overlap, a single conspiracy may be found.”               Id.   Parties

who knowingly participate with core conspirators to achieve a common

goal may be members of an overall conspiracy.             Id.     The members of

a conspiracy which functions through a division of labor need not

have an awareness of the existence of the other members, or be privy

to the details of each aspect of the conspiracy.             Id. (finding that

all the Government had to show was that co-conspirators were

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conspiring with a core conspirator).

        A conspiracy may exist even if a conspirator does not agree to

commit or facilitate each and every part of the substantive offense,

Salinas     v.    United    States,   522     U.S.   52,    63     (1997),    and   “the

government need not always demonstrate an actual agreement among the

various conspirators, or even actual knowledge of each other to

establish a single conspiracy.” United States v. Mitchell, 777 F.2d

248, 259 (5th Cir. 1986)(citing United States v. Sutherland, 656

F.2d 1181, 1190-91 (5th Cir. 1981), cert. denied, 455 U.S. 949

(1982)).      While the partners in the criminal plan must agree to

pursue the same criminal objective and may divide up the work, each

member is responsible for the acts of each other. Salinas, 522 U.S.

at    63.      If   conspirators      have    a   plan     which      calls   for   some

conspirators to perpetrate the crime and others to provide support,

the supporters are as guilty as the perpetrators.                       Id. at 64. In

fact, a person may even be liable for conspiracy even though he was

incapable        of committing the substantive offense.               Id.

         In some cases the interdependent nature of the criminal

enterprise is such that each conspirator had to have realized that

the conspiracy extended beyond his individual role. Sutherland, 656

F.2d at 1190-91.           Id. Such conspiracies are often referred to as

“chains” because “the success of the criminal scheme depends on the

success of each link in the chain.”                  Id. at 1191.           Individuals



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associating      themselves     with    a   chain     conspiracy       know   that      the

conspiracy “has a scope and that for its success it requires an

organization      wider      than    may    be      disclosed    by     his   personal

participation.”        Id.

      The RICO conspiracy provision, 18 U.S.C. § 1962(d), is more

comprehensive than the general conspiracy offense and broadened

conspiracy coverage by omitting the requirement of an overt act.

Id.   The RICO conspiracy statute provides:                  “It shall be unlawful

for any person to conspire to violate any of the provisions of

subsection (a), (b),or (c) of this section.” 18 U.S.C. § 1962(d).

Subsection (a) involves the unlawful investment into an enterprise

of proceeds obtained from a pattern of racketeering; subsection (b)

makes it unlawful for a person to acquire or maintain an interest

in or control of an enterprise through a pattern of racketeering

activity;   and    subsection        (c)    makes     it   unlawful     for   a   person

employed    by    or   associated      with      an   enterprise       to   conduct      or

participate in the conduct of the enterprise’s affairs through a

pattern of racketeering activity.8 It is sufficient under RICO that

      8
       The full text of 18 U.S.C. § 1962 is as follows:
      (a) It shall be unlawful for any person who has received any income
      derived, directly or indirectly, from a pattern of racketeering
      activity or through collection of an unlawful debt in which such
      person has participated as a principal within the meaning of section
      2, title 18, United States Code, to use or invest, directly or
      indirectly, any part of such income, or the proceeds of such income,
      in acquisition of any interest in, or the establishment or operation
      of, any enterprise which is engaged in, or the activities of which
      affect, interstate or foreign commerce. A purchase of securities on
      the open market for purposes of investment, and without the intention
      of controlling or participating in the control of the issuer, or of
      assisting another to do so, shall not be unlawful under this

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the   conspirator adopt the goal of furthering or facilitating the

criminal endeavor and may do so in any number of ways short of

agreeing to undertake all of the acts necessary for the crime's

completion.9 Id.

      The Fifth Circuit in Sutherland presented an in-depth analysis

of counting conspiracies that reviewed traditional conspiracy law,

including    the   “wheel”     and   “chain”    conspiracies,     and   the    RICO

      subsection if the securities of the issuer held by the purchaser, the
      members of his immediate family, and his or their accomplices in any
      pattern or racketeering activity or the collection of an unlawful debt
      after such purchase do not amount in the aggregate to one percent of
      the outstanding securities of any one class, and do not confer, either
      in law or in fact, the power to elect one or more directors of the
      issuer.

      (b) It shall be unlawful for any person through a pattern of
      racketeering activity or through collection of an unlawful debt to
      acquire or maintain, directly or indirectly, any interest in or
      control of any enterprise which is engaged in, or the activities of
      which affect, interstate or foreign commerce.

      (c) It shall be unlawful for any person employed by or associated with
      any enterprise engaged in, or the activities of which affect,
      interstate or foreign commerce, to conduct or participate, directly or
      indirectly, in the conduct of such enterprise's affairs through a
      pattern of racketeering activity or collection of unlawful debt.

      (d) It shall be unlawful for any person to conspire to violate any of
      the provisions of subsection (a), (b), or (c) of this section.
      9
        Mose Jefferson cites United States v. Broce, 488 U.S. 563, 570 (1989)
for the following legal propositions:

      The gist of the crime of conspiracy as defined by the statute is the
      agreement ... to commit one or more unlawful acts,” from which it
      follows that “the precise nature and extent of the conspiracy must
      be determined by reference to the agreement which embraces and
      defines its objects.” A single agreement to commit several crimes
      constitutes one conspiracy. By the same reasoning, multiple
      agreements   to   commit   separate   crimes   constitute   multiple
      conspiracies.

Broce, 488 U.S. at 570 (internal cites and quotes omitted). Broce involved
the Sherman Act. RICO conspiracies, however, are quite broad as the agreement
is to “acquire or maintain, directly or indirectly, any interest” in the RICO
enterprise, “through a pattern of racketeering activity.” 18 U.S.C. § 1962.

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“enterprise     conspiracy.”       656    F.2d      at    1189-1195.      The   wheel

conspiracy was explained by analysis of the Supreme Court’s decision

in United States v. Kotteakos, 328 U.S. 750 (1946), which alleged

a single conspiracy to obtain government loans by making fraudulent

representations. During the Kotteakos trial, the Government, by its

own admission,10 presented proof of multiple conspiracies with the

sole   common   element    being    one       man   who    directed     each    group.

Sutherland, 656 F.2d at 1189. The Supreme Court described the

multiple conspiracies pattern as “‘separate spokes meeting in a

common center’ but ‘without the rim of the wheel to enclose the

spokes.’” Id.      Sutherland involved two conspiracies whose common

participant was only Sutherland; the court noted, “‘If there is not

some interaction between those conspirators who form the spokes of

the wheel as to at least one common illegal object, the “wheel” is

incomplete, and two conspiracies rather than one are charged.’” Id.

at 1190 (quoting United States v. Levine, 546 F.2d 658, 663 (5th

Cir. 1977)).    Contrast this to the “chain” conspiracy, in which the

interdependent nature of the criminal enterprise is such that each

conspirator had to have realized that the conspiracy extended beyond

his individual role.

       Sutherland involved a municipal court judge and two other

defendants who allegedly collected traffic tickets along with the


      10
         Note that in Sutherland, the Government also admitted that it
introduced no evidence of a single conspiracy. 656 F.2d at 1190.

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amount of the statutory fine plus a small premium and delivered the

tickets to Sutherland, who would have the cases transferred to his

docket and favorably dispose of them. The money would then be split

between Sutherland and whichever defendant delivered the ticket.

The Government did not dispute the defendants’ claims that the two

persons delivering tickets to the judge did not know of one another.

 656 F.2d at 1186.         In fact, the Government, “by its own admission

. . . introduced no evidence of a single conspiracy but . . . rested

its case on two distinct multiple conspiracies.”                        Id. at 1190.

The   Government       defended    the    joint      trial   not   on   the   basis     of

traditional multiple conspiracy law but argued that the defendants

were properly tried together for a single “enterprise conspiracy”

under RICO, contending that “a single conspiracy to violate a

substantive        RICO   provision      may    be   comprised     of   a   pattern     of

agreements that absent RICO would constitute multiple conspiracies,”

regardless of whether there was any agreement between members of the

two separate conspiracies.11             Id. at 1191.

      The Fifth Circuit rejected the Government’s argument, finding



      11
           The Government’s argument continued:

      [T]hese otherwise multiple conspiracies are tied together by the RICO
      “enterprise:” so long as the object of each conspiracy is
      participation in the same enterprise in violation of RICO, it matters
      not that the different conspiracies are otherwise unrelated. Thus,
      the government argue[d] that it need not demonstrate any connection
      between [the defendants delivering the tickets]      because the two
      conspiracies at issue each involved the same RICO enterprise the
      Municipal Court of the City of El Paso.
Id.

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that RICO’s expansion did not do away with a finding of agreement

but that it “provide[d] a new criminal objective by defining a new

substantive crime.”         Id. at 1192.      The court explained that what

tied    together    a    series   of   agreements    that     pre-RICO    would     be

considered multiple conspiracies “is not the mere fact that they

involve     the   same   enterprise,    but   is    instead    as   in   any   other

conspiracy an ‘agreement on an overall objective.’” Id. at 1192-93.

The court further commented, “Taken to its logical extreme, a rule

allowing the joint trial of otherwise unrelated conspiracies solely

on the basis of their relationship to a common enterprise the rule

which the government advocates in this case leads to ridiculous

results.”     Id. at 1194.        The Fifth Circuit summed up the rule of

RICO and multiple conspiracies as follows:

       (1) a pattern of agreements that absent RICO would
       constitute multiple conspiracies may be joined under a
       single RICO conspiracy count if the defendants have agreed
       to commit a substantive RICO offense; and (2) such an
       agreement to violate RICO may, as in the case of a
       traditional “chain” or “wheel” conspiracy, be established
       on circumstantial evidence, i.e., evidence that the nature
       of the conspiracy is such that each defendant must
       necessarily have known that others were also conspiring
       to violate RICO.

Id. at 1194.12

       12
       The Fifth Circuit’s analysis of this issue centered largely on
clarifying an earlier ruling, United States v. Elliott, 571 F.2d 880 (5th
Cir.1978), cert. denied, 439 U.S. 953 (1978), which the Government relied upon
for its contention that no agreement between members of the separate
conspiracies was necessary under RICO. The court found in Elliott that a
series of agreements that pre-RICO would have constituted multiple
conspiracies could be tried as a single RICO “enterprise” conspiracy. Id. at
1192. The court noted however that this finding rested in large part upon
proof of a traditional chain conspiracy in which each defendant must

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       Other Fifth Circuit cases involving the question of multiple

conspiracies and RICO include United States v. Mitchell, 777 F.2d

248 (5th Cir. 1985), and United States v. Diecidue, 603 F.2d 535,

546 (5th Cir. 1979).       Mitchell involved a RICO conspiracy centered

around narcotics trafficking. Finding that the “similarity of time,

persons, offenses, places and overt acts among the shipments”

pointed to a single RICO conspiracy, the Mitchell court rejected the

defendants’ arguments that separate transactions, which were not

identical and were at different locations and did not always involve

the same defendants, each constituted a different and distinct

conspiracy rather than one single RICO conspiracy.                Mitchell, 777

F.2d   at   259-60.      The   court   further    found   “that    most   of      the

defendants were aware of and in fact participated with the other

defendants at some point in the many transactions that took place.”

Id.    The court concluded:



necessarily have known that others were also conspiring to participate.        Id.
at 1193. The court provided the following analysis:

       To be sure, the government did not prove in Elliott that each of the
       conspirators had explicitly agreed with all of the others to violate
       the substantive RICO provision at issue. However, the government did
       prove that, as in a traditional “chain” conspiracy, the nature of the
       scheme was such that each defendant must necessarily have known that
       others were also conspiring to participate in the same enterprise
       through a pattern of racketeering activity. We found the facts
       sufficient to demonstrate that the defendants knew they were
       “directly involved in an enterprise whose purpose was to profit from
       crime,” and that each knew “that the enterprise was bigger than his
       role in it, and that others unknown to him were participating in its
       affairs.” The agreement among all of the defendants in Elliott was
       an implicit one, but it was an agreement nonetheless.

Id. (citations omitted).

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        The unified purposes of the conspiracy to violate drug and
        anti-racketeering laws, the interconnections among the
        parties and events, the nature of the statutory offenses
        charged, the unity of the time period in which the
        conspiracy was proved to have occurred, the similarity of
        the places where the conspiracy and overt acts occurred,
        and the scope of the criminal offense which the government
        sought to punish lead to the inescapable conclusion that
        a single conspiracy was alleged and proved.

Id.

        In Diecidue, the defendants alleged that the Count One RICO

conspiracy charge to violate 18 U.S.C. § 1962(c) was duplicitous and

alleged “separate conspiracies to form an enterprise and conduct its

affairs through a pattern of racketeering activity, to join an

existing enterprise, to engage in the purchase and sale of cocaine,

to possess and distribute counterfeit currency, and to possess and

attempt to sell stolen U.S. Treasury bills.”                  603 F.2d at 546.       The

court found that § 1962(c) could encompass the various acts and

stated,     “The   allegations      addressed     to    the    various     substantive

offenses committed as part of the conspiracy are merely descriptive

of    the   single    overall     agreement   and      do   not   render    the   count

duplicitous.”        Id. (citing Braverman v. United States, 317 U.S. 49,

54 (1942)).

       Finally, a finding that the evidence shows one or multiple

conspiracies is a question of fact for the jury.                   United States v.

Morgan, 117 F.3d 849, 858 (5th Cir. 1997).                    A defendant can raise

the claim of multiple conspiracies as a defense and request the

appropriate jury instruction.           United States v. Stowell, 947 F.2d

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1251, 1258 (5th Cir. 1991), cert. denied, 112 S.Ct. 1269 (1992).

“If the government sufficiently supports its charge of a single

conspiracy, evidence at trial of multiple conspiracies does not of

itself create a material variance with the indictment; at most, such

evidence creates a fact question and entitles the defendants to a

jury instruction on the possibility of multiple conspiracies.”

United States v. Barraza, 853 F.2d 288, 291 (quoting United States

v. Sutherland, 656 F.2d 1181, 1189 n.5 (5th Cir. 1981), cert.

denied, 455 U.S. 949 (1982)).13

    The Superseding Indictment appears to satisfy the Richerson and

Pena-Rodriguez requirements of common goal, nature of the scheme,

and overlapping participants.        The common goal alleged is “personal

financial and political gain,” which is analogous to the goals of

“personal gain” and “mutual enrichment” previously upheld by the

Fifth Circuit.      See Richerson, 833 F.2d at 1153.              The facts as

alleged in the Superseding Indictment support the common goal

allegation as stated.

      The nature of the scheme alleged is the funneling of grant

funds through the enterprise-in-fact, which the Government asserts

consisted of Defendants, their various non-profit and for-profit

entities, and political positions. In such a scheme “the activities


      13
         The Fifth Circuit in United States v. Barraza found that in a 17 week
trial with 159 witness and 21 defendants and six days of jury deliberation,
that the multiple conspiracy issue was resolved when the jury delivered its
verdict, which acquitted seven defendants on all counts and found six
defendants not guilty as to the conspiracy to commit racketeering count.

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of one aspect of the scheme are necessary or advantageous to the

success of another aspect of the scheme or to the overall success

of the venture.”     Id. at 1154.    For example, before funds could be

funneled, they had to be procured. Such procurement, the Government

alleges, was achieved through the application for grants by multiple

defendants and the influence and efforts of defendants through their

political positions. Once procured, money had to be funneled to and

through the non-profits and for-profits, either prior to conversion

for personal gain or to conceal such conversion.           Accordingly, the

conspiracy as alleged contains multiple parts “inherent in a larger

common plan,” which, under Richerson, infers “the existence of a

single conspiracy.”     Id.

     The composition of the enterprise-in-fact and the various

actions of its participants satisfy the overlapping participants

requirement.      The   conspiracy   alleged    is   not       a   “wheel”    type

conspiracy.    The   various   transactions    and    groupings         of   those

transactions, such as grants to CU and various resultant alleged

misappropriations versus grants to Central City, allegedly involved

overlapping defendants and is therefore more closely analogous to

the specific and separate narcotics shipments described in Mitchell.

Also as in Mitchell, the acts alleged in support of the conspiracy

indicate a similarity of time, persons, and acts. Additionally, the

Superseding Indictment indicates an awareness by defendants of and

participation with the other defendants at some point in the various

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transactions that took place or at the least, due to the nature of

the scheme an awareness that others must have also been conspiring.

Accordingly, the Court finds that the Superseding Indictment alleges

one   RICO   conspiracy    in    Count    1.    The     question     of    multiple

conspiracies is a fact question for the jury, and Defendants can

request an appropriate jury charge.              As noted in Sharpe, any

possible prejudice can be prevented by limiting jury instructions,

careful and deliberate evidentiary rulings, and the requirement of

a unanimous verdict.       United States v. Sharpe, 193 F.3d 852, 870

(5th Cir. 1999).

      The Court further finds no grounds for granting Defendant’s

alternative request that allegations associated with the state law

violations and the “I Can Learn” software be stricken.                    While the

Court   is   concerned    with   the     propriety    of   pursuing       state    law

violations under the guise of a federal RICO conspiracy, the

Superseding Indictment does not charge state law violations and does

not appear to pursue those acts per se.              Rather, the alleged state

law violations are presented to establish the existence of the

alleged RICO enterprise and a pattern of racketeering activity.

Their   inclusion   in    the    Superseding     Indictment      “notifies         the

defendant adequately of the charges against him” and, as explained

below, “does not subject the defendant to double jeopardy.” Sharpe,

193 F.3d at 870.    Accordingly, the Court denies Defendant’s request

to strike those allegations from the Superseding Indictment.

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II. Double Jeopardy

        Mose Jefferson’s Double Jeopardy argument also fails.                    “The

constitutional prohibition against ‘double jeopardy’ was designed

to protect an individual from being subjected to the hazards of

trial    and   possible   conviction     more    than   once      for    an    alleged

offense.”      Burks v. United States, 437 U.S. 1, 11 (1978), cited by

United States v. Severns, 559 F.3d 274 (5th Cir. 2009).                       “[W]here

the same act or transaction constitutes a violation of two distinct

statutory provisions,” the Double Jeopardy Clause is not violated

when “each provision requires proof of a fact which the other does

not.”     Blockburger v. United States, 284 U.S. 299, 304 (1932),

quoted by Mitchell, 777 F.2d at 264; see also United States v.

Dixon, 509 U.S. 688, 696-97 (1993)(restating the Blockburger “same-

conduct” test).     Furthermore, “a substantive crime and a conspiracy

to commit that crime are not the ‘same offence’ for double jeopardy

purposes.”     United States v. Felix, 503 U.S. 378, 389 (1992).

        When evaluating double jeopardy rights of a defendant receiving

concurrent sentences on marijuana conspiracy counts and a RICO

conspiracy     count,   the    Fifth   Circuit   found    no      double      jeopardy

violation because “each provision require[d] proof of a fact that

the other [did] not.”          Mitchell, 777 F.2d at 264.               The Mitchell

court noted that the “two sections are in separate statutes and are

intended to deter two different kinds of activity-racketeering on

the one hand and narcotics violations on the other.”                Id. The court

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specifically noted that 18 U.S.C. § 1962(d) “requires proof of an

‘enterprise’ engaged in a ‘pattern of racketeering activity,’ but

section 846 does not.        Id.

     Although both the indictment in Criminal Action No. 08-085 and

the Superseding Indictment in the present case reference the “I Can

Learn”   software,    the    indictment         in   Case   No.       08-085   presents

statutory charges against Mose Jefferson that allege conspiracy to

commit   bribery     (18    U.S.C.     §   371),     bribing      an    agent    of     an

organization receiving federal funds (18 U.S.C. § 666(a)(2)), money

laundering (18 U.S.C. § 1956(h)), and obstruction of justice (18

U.S.C. § 1512(b)(3)).       These charges are in separate statutes than

and differ from those in the Superseding Indictment before this

Court, which references the “I Can Learn” software as evidence of

the RICO conspiracy in violation of 18 U.S.C. § 1962(d).                                As

observed in Mitchell, “18 U.S.C. § 1962(d) requires proof of an

‘enterprise’ engaged in a ‘pattern of racketeering activity,’ but

the statutes charged in Case No. 08-085 do not.                   Accordingly, the

Court finds no risk of double jeopardy at this time and therefore

finds no need to strike, sever, or dismiss on that basis.

III. Severance

     Mose Jefferson and Renee Gill Pratt both argue that their

trials should be severed from the trials of Betty Jefferson and

Angela Coleman.      Mose Jefferson argues that his trial should be

severed on the basis of his speedy trial rights, double jeopardy

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with respect to the “I Can Learn” transaction, and his Sixth

Amendment right to counsel.         Renee Gill Pratt, who consents to a

joint trial with Mose Jefferson, bases her trial severance argument

on speedy trial rights and severe prejudice.            Mose Jefferson also

argues that he is improperly joined in Counts 15-24, the aggravated

identity theft charges, and Counts 30-34, income tax evasion and

conspiracy to evade income tax, and further argues that Counts 28

and 29, which    charge him with making false statements, should be

severed as they are not objects of the RICO conspiracy. Defendants’

speedy trial arguments were addressed when the Court considered

motions to continue trial and are accordingly moot in light of the

Court’s grant of a continuance.            Similarly, the Sixth Amendment

right to counsel arguments are moot as the Court is taking ample

measures to ensure proper application, and to the extent necessary

reconciliation, of Defendants’ rights to counsel of their choice and

conflict free counsel.         Mose Jefferson’s double jeopardy argument

was addressed in Section II of this Order and Reasons. Accordingly,

the only argument remaining for consideration is the assertion of

prejudice, especially as it relates to evidence that would be

inadmissible against Gill Pratt and Mose Jefferson.

     Joinder of both defendants and offenses are addressed in Fed.

R. Crim. P. 8; while severance or other relief for prejudicial

joinder is governed by Rule 14.        Fed. R. Crim. P. 8 states:

     (a)   Joinder of Offenses. The indictment or information

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              may charge a defendant in separate counts with 2 or
              more offenses if the offenses charged — whether
              felonies or misdemeanors or both — are of the same
              or similar character, or are based on the same act
              or transaction, or are connected with or constitute
              parts of a common scheme or plan.

        (b)   Joinder of Defendants. The indictment or information
              may charge 2 or more defendants if they are alleged
              to have participated in the same act or transaction,
              or in the same series of acts or transactions,
              constituting an offense or offenses. The defendants
              may be charged in one or more counts together or
              separately. All defendants need not be charged in
              each count.

Fed. R. Crim. P. 14 provides:

        (a)   Relief. If the joinder of offenses or defendants in
              an indictment, an information, or a consolidation
              for trial appears to prejudice a defendant or the
              government, the court may order separate trials of
              counts, sever the defendants’ trials, or provide any
              other relief that justice requires.

        "The propriety of joinder under Rule 8 is determined by the

initial allegations of the indictment, which are accepted as true

absent arguments of prosecutorial misconduct."                    United States v.

Harrelson, 754 F.2d 1153, 1176 (5th Cir.1985)(citations omitted).

Rule 8 is "satisfied by allegation of an overarching conspiracy that

encompasses the substantive offenses charged."                    United States v.

Krout, 66 F.3d 1420, 1429 (5th Cir.1995).                   See also United States

v.     Tettleton,    2009    WL   1174358,      at     *4    (W.D.La.     April       29,

2009)(finding       indictment    to   allege    an      overarching      conspiracy

encompassing the offense charged and denying motions to sever).

        The Fifth Circuit has consistently held that when persons are


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indicted together, they should be tried together.                     United States v.

McKinney, 53 F.3d 664(5th Cir.1995); United States v. Wilwright, 56

F.3d 586 (5th Cir.1995); United States v. Boyett, 2006 WL 3313746,

*1 (W.D.La. Nov. 14, 2006).           This rule is especially strong when

defendants    are   charged    with    a        conspiracy.     United      States       v.

Martinez-Perez, 941 F.2d295 (5th Cir.1991); Boyett, 2006 WL 3313746

at *1.    Joint trials “promote efficiency and ‘serve the interests

of justice by avoiding the scandal and inequity of inconsistent

verdicts.’”     Zafiro v. United States, 506 U.S. 534, 537,(1993)

(citing Richardson v. Marsh, 481 U.S. 200, 210 (1987)).

     A.   Trial Severance

     As   stated    previously,       the        only   argument       remaining        for

consideration is the assertion of prejudice, especially as it

relates to evidence that would be inadmissible against Gill Pratt

and Mose Jefferson. Gill Pratt’s severe prejudice argument is based

on the fact that most of the charges and, presumably most of the

evidence, relate exclusively to Betty Jefferson and Angela Coleman.

Gill Pratt also argues that most of this evidence against Betty

Jefferson and Angela Coleman would be inadmissible against Gill

Pratt and Mose Jefferson.

     Fed. R. Cr. P. 14 provides that a court may grant a severance

of defendants when it appears that a defendant will be prejudiced

by a joint trial.      Even if prejudice is shown, Rule 14 does not

require severance; “rather, it leaves the tailoring of the relief

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to be granted, if any, to the district court’s sound discretion.”

Zafiro, 506 U.S. at 535, 538-39 (finding that Rule 14 does not

require severance as a matter of law when co-defendants present

“mutually   antagonistic       defenses”).       To   justify    severance       of

co-defendants, the movant must show that he would suffer “specific

and compelling prejudice against which the court [is] unable to

afford protection,” such as through a limiting instruction, and

“that this prejudice [would] result[] in an unfair trial.”                United

States v. Kaufman, 858 F.2d 994, 1003 (5th Cir. 1988) (citing United

States v. Toro, 840 F.2d 1221, 1238 (5th Cir. 1988)).

       When defendants have been properly joined under Rule 8(b), a

“district court should grant a severance under Rule 14 only if there

is a serious risk that a joint trial would compromise a specific

trial right of one of the defendants, or prevent the jury from

making a reliable judgment about guilt or innocence."               Zafiro, 506

U.S. at 539; see also United States v. Tarango, 396 F.3d 666 (5th

Cir. 2005)(quoting Zafiro and affirming trial court’s grant of new

trial after finding prejudice to a defendant when evidence pertained

predominately to co-defendant who was being tried in absentia and

that much of that evidence was inadmissible against defendant).

When many defendants are tried together in a complex case and they

have   markedly   different     degrees    of   culpability,     this   risk     of

prejudice is heightened and might occur when evidence that the jury

should not consider against a defendant and that would not be

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admissible if the defendant were tried alone is admitted against a

co-defendant.      Zafiro, 506 U.S. at 539 (citing Bruton v. United

States, 391 U.S. 123(1968)).         Conversely, a defendant might suffer

prejudice if essential exculpatory evidence that would be available

to a defendant tried alone were unavailable in a joint trial.

       However, a disparity of evidence in a trial involving multiple

defendants does not in and of itself constitute prejudice, and the

risk of prejudice will vary with the facts in each case.                     United

States v. Tarango, 396 F.3d 666, 674 (5th Cir. 2005).                 When a joint

trial puts evidence before the jury that would not be admitted

against a defendant tried separately, the court closely examines

that   evidence,   its   “spillover”        potential,    and      whether   a   jury

instruction to consider it only against the defendant against whom

it was admitted can be truly effective.             United States v. Simmons,

374 F.3d 313, 318 (5th Cir. 2004).               When considering “spillover”

potential of evidence that would not be admitted against a defendant

tried separately, the court evaluates whether the evidence is “so

complicated ... as to prevent the jury from separating the evidence

and properly applying it only to those against whom it was offered.”

Id.     Evaluating    the   complexity      of    evidence   is     necessarily     a

fact-specific inquiry.         Id.

       With facts that are relatively easy to sort, adequate jury

instructions    can   protect    against      prejudice.     Such     instructions

explain the differences between the counts.              For example, the Fifth

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Circuit in Simmons approved the following jury instructions:

      A separate crime is charged against one or more of the
      defendants in each count of the indictment. Each count,
      and the evidence pertaining to it, should be considered
      separately. Also, the case of each defendant should be
      considered separately and individually. The fact that you
      may find one or more of the accused guilty or not guilty
      of any of the crimes charged should not control your
      verdict as to any other crime or any other defendant. You
      must give separate consideration to the evidence as to
      each defendant.

Id.

      Accordingly, the mere presence of a spillover effect does not

ordinarily warrant severance, and “attorneys can utilize tools such

as cross-examination and requests for specific limiting instructions

to lessen any spillover effect.”            Id. at 318, 319.       “Juries are

presumed to follow instructions,” and courts often utilize measures

such as limiting instructions to cure any risk of prejudice.14

Zafiro, 506 U.S. at 540.       See also United States v. Harrelson, 754

F.2d 1153, 1175 (5th Cir. 1985)(stating, “ Our Circuit's view of


      14
       The Supreme Court in Zafiro, when reviewing jury charges quite similar
to those before the Fifth Circuit in Simmons, proffered the following
evaluation of the ability of those charges to cure prejudice:

      The District Court properly instructed the jury that the Government
      had “the burden of proving beyond a reasonable doubt” that each
      defendant committed the crimes with which he or she was charged. The
      court then instructed the jury that it must “give separate
      consideration to each individual defendant and to each separate
      charge against him. Each defendant is entitled to have his or her
      case determined from his or her own conduct and from the evidence
      [that] may be applicable to him or to her.” In addition, the District
      Court admonished the jury that opening and closing arguments are not
      evidence and that it should draw no inferences from a defendant’s
      exercise of the right to silence. These instructions sufficed to cure
      any possibility of prejudice.

Zafiro, 506 U.S. at 541(citations omitted).

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such “spill over” or “cumulation” arguments is . . . [that] ‘the

pernicious effect of cumulation ... is best avoided by precise

instructions to the jury on the admissibility and proper uses of the

evidence introduced by the Government;” and finding that “in this

Circuit ‘[s]everance under Fed.R.Crim.P. 14 is an appropriate remedy

for a disparity in the evidence only in the most extreme cases.’”

(quoting United States v. Morrow, 537 F.2d 120, 136, 137 (5th Cir.

1976)).

       Defendants are not entitled to severance merely because they

may have a better chance of acquittal in separate trials.                    Id.      See

also Harrelson, 754 F.2d at 1178 (rejecting defendant’s argument

that “it was error to force her to stand trial with others charged

with ‘heinous’ offenses while she herself was charged with only ‘a

much    less   serious    offense”    and      describing       the    argument       as

“distasteful”).       The granting of a severance under Fed. R. Crim. P.

14 rests in the sound discretion of the district court and reversal

is not required except upon a showing of “specific and compelling”

prejudice.     United States v. Mitchell, 777 F.2d 248, 260 n.3 (5th

Cir. 1986)(citing United States v. Terrell, 754 F.2d 1139, 1150 (5th

Cir. 1985)).    In United States v. Mitchell, the Fifth Circuit found

that the district court did not abuse its discretion in refusing to

grant severance motions when the same evidence admitted at trial

would   have   been    admissible    in    a   separate   trial       to   prove      the

existence and scope of the RICO conspiracy.               Id.

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     Defendants Renee Gill Pratt and Mose Jefferson have failed to

show “specific and compelling prejudice against which the court [is]

unable to afford protection” and that would result in an unfair

trial.   Defendants generally assert that much of the evidence to be

presented at trial is admissible only against Defendants Betty

Jefferson and Angela Coleman, presumably on the basis that the

majority of charges in the Superseding Indictment are against Betty

Jefferson and Angela Coleman.        However, all of the counts in the

Superseding Indictment are linked in some way to the Count 1 RICO

conspiracy, and the factual allegations of those counts (aside from

the income tax evasion charges) in the Superseding Indictment,

“which are accepted as true absent arguments of prosecutorial

misconduct," are analogous to overt acts of general conspiracies and

therefore comprise evidence regarding the very existence of the RICO

conspiracy.     United States v. Harrelson, 754 F.2d 1153, 1176 (5th

Cir. 1985).    See generally United States v. Mitchell, 777 F.2d 248,

258-263 (evaluating the sufficiency of the evidence to establish the

existence of the RICO enterprise and the racketeering acts, many of

which involved some defendants and not others and to varying

degrees).     Aside from the tax evasion and conspiracy to commit tax

evasion charges, Defendants have not articulated what specific

evidence might be admissible against Betty Jefferson and Angela

Coleman that would not also be admissible against Mose Jefferson and

Renee Gill Pratt for purposes of proving the existence of the RICO

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enterprise and the enterprise’s alleged “pattern of racketeering.”

      Although evidence of the tax evasion and conspiracy to evade

tax   evasion   charges     do    not   at    this    time    appear     to   directly

constitute evidence of the RICO conspiracy and may therefore be

inadmissible against Defendants Mose Jefferson and Renee Gill Pratt,

the Court finds, based on the pleadings and oral argument of the

parties presently under consideration, that those charges and the

facts related to them “are relatively easy to sort” and that

adequate jury instructions such as those evaluated by the Supreme

Court in Zafiro and the Fifth Circuit in Simmons can protect against

any prejudice that could possibly arise due to spillover.

      B.   Severance of Specific Counts

      I.    Counts 15-24 (Aggravated Identity Theft) and Counts 30-34
            (Income Tax Evasion)

      The primary arguments for severance of Counts 15-24, and 30-34

are either misjoinder (Fed. R. Crim. P. 8) or misjoinder and

prejudice (Fed. R. Crim. P. 14).             Counts 15-24 (Aggravated Identity

Theft) and Counts 30-34 (Income Tax Evasion and Conspiracy to Commit

Income Tax Evasion) charge only Betty Jefferson and/or Angela

Coleman.   Mose Jefferson and Renee Gill Pratt argue that these are

not objectives of the RICO conspiracy and that there is no basis

under   Rule    8   to   join    them   in    those    counts.        Alternatively,

Defendants argue that these counts should be severed as prejudicial

under Rule 14. However, Mose Jefferson provides neither case law on


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prejudice nor any specific explanations as to how Defendant might

be prejudiced by the joinder.15

     The Government asserts that Counts 15-24 (aggravated identity

theft) are evidence of the RICO conspiracy and therefore joinder is

proper under Rule 8.      Regarding possible prejudice, the Government

argues that the facts of the theft will be presented in the course

of the evidence introduced to prove the conspiracy, thus a joint

trial     promotes   efficiency    and     avoids    inconsistent      verdicts.

Furthermore, the Government asserts that a proper jury instruction

limiting the jury’s consideration of guilt to those defendants

charged with the specific offenses enumerated in Counts 2-11 will

prevent     cross-contamination      of    the      jury’s    deliberation        of

Defendant’s guilt.     See United States v. Diaz-Munoz, 632 F.2d 1330,

1337 (5th Cir. 1980)(stating that “the inquiry regarding prejudice

is whether the jury can keep separate the evidence that is relevant

to each defendant and render a fair and impartial verdict as to

him”).    The Government does not assert that the tax evasion counts

(Counts 30-34) are direct evidence of the RICO conspiracy but argues

that judicial economy, witness and government expense, and overall

difficulty of presenting the copious exhibits and multitude of

witnesses warrant the inclusion of the tax counts with the others



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       Renee Gill Pratt provides some case law and alleges prejudice through
the presentation of evidence at trial that would be admissible against Betty
Jefferson and/or Angela Coleman but inadmissible against Mose Jefferson.
These arguments are discussed in the section on severance of trial.

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charged in the Superseding Indictment.

     Rule 8(b) specifically states that “[a]ll defendants need not

be charged in each count” and Counts 15-24 (aggravated identity

theft) appear to be related to the RICO conspiracy.              Accordingly,

joinder of Counts 15-24 is proper, and there does not appear at this

time the existence of any prejudice against Mose Jefferson and Renee

Gill Pratt that could not be remedied with lessor tools than

severance, such as limiting jury instructions.

     As discussed in the section of this Order and Reasons on trial

severance, the income tax evasion charges are distinct from the RICO

conspiracy charge and associated actions of the enterprise.                They

are specific to Betty Jefferson (and Angela Coleman with respect to

the income tax evasion conspiracy).           While the income tax evasion

allegedly involves monies gained as a result of actions of the

Enterprise, it is a different criminal action in nature than using

the proceeds for a specific purpose, such as a mortgage payment.

The Court does not at this time find any overwhelming prejudice

against Mose Jefferson or Renee Gill Pratt due to the inclusion of

these Counts, and it would appear that any prejudice could be easily

remedied by specific limiting jury instructions.           See United States

v. Mitchell, 777 F.2d 248, 260 n.3 (5th Cir. 1985)(finding that the

district court did not abuse its discretion in refusing to grant

severance motions when the same evidence admitted at trial would

have been admissible in a separate trial to prove the existence and

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scope of the RICO conspiracy).

      ii.   Counts 28 - 29 - False Statements

      Mose Jefferson argues that the false statements are not objects

of the RICO conspiracy and should be severed under Rule 14 and

asserts that “they asperse his not guilty plea to the remaining

counts.”    (Rec. Doc. 119-2).      Defendant cites the Fifth Circuit for

the   proposition    that     courts   should       give   careful,     deliberate

consideration to motions to sever perjury like counts from the

underlying counts.     See United States v. Schilleci, 545 F.2d 519,

522 (5th Cir. 1977).        The Government argues that Counts 28 and 29

represent two distinct false statements, not a single offense.                      The

Government    also   argues      against    severance,     asserting     that       the

statements are self-serving exculpatory statements rather than

inculpatory   statements.         Further,    the    Government      asserts    that

Defendant misrepresents the law presented in Schilleci.

      Defendant’s    use    of   Schilleci    amounts      to   a   misapplication

through a rather tenuous connection; the Schilleci case neither

reached the issue of whether a perjury count should be severed from

the underlying charges nor referenced “equivalents” of perjury.

Counts 28 and 29 refer to statements Mose Jefferson allegedly made

that he “received no financial gain, no salary, and no property from

defendant’s controlled non-profit, Orleans Metro” and that Defendant

did not have check signing authority for Orleans Metro.                        These

statements, while perhaps not objects of the RICO conspiracy, may

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constitute evidence of the conspiracy as alleged.              Furthermore, it

appears to the Court that much of the evidence presented to prove

these Counts will also be presented to prove the Count 1 RICO

conspiracy. Accordingly, the Court finds that the counts should not

be severed at this time.

     For the aforementioned reasons and the oral reasons given, the

Court DENIES Mose Jefferson’s Motion to Dismiss, Strike, and Sever

(Rec. Doc. 119) without prejudice to reconsider at a future date.



     New Orleans, Louisiana, this 30th day of September, 2009.




                                          ________________________________
                                           UNITED STATES DISTRICT JUDGE




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